     Case 1:20-cv-03127-SAB   ECF No. 97   filed 10/29/20   PageID.2848 Page 1 of 6




1        ROBERT W. FERGUSON
         Attorney General
2        NOAH GUZZO PURCELL, WSBA #43492
         Solicitor General
3        NATHAN K. BAYS, WSBA #43025
         KRISTIN BENESKI, WSBA #45478
4        ANDREW R.W. HUGHES, WSBA #49515
         CRISTINA SEPE, WSBA #53609
5        Assistant Attorneys General
         EMMA S. GRUNBERG, WSBA #54659
6        TERA M. HEINTZ, WSBA #54921
         (application for admission forthcoming)
7        KARL D. SMITH, WSBA #41988
         Deputy Solicitors General
8        800 Fifth Avenue, Suite 2000
         Seattle, WA 98104
9        (206) 464-7744

10
                         UNITED STATES DISTRICT COURT
11                      EASTERN DISTRICT OF WASHINGTON
                                   AT YAKIMA
12
         STATE OF WASHINGTON, et al.,              NO. 20-03127-SAB
13
                        Plaintiffs,                PLAINTIFFS’ STATUS REPORT
14                                                 AND REQUEST FOR STATUS
            v.                                     CONFERENCE
15
         DONALD J. TRUMP, et al.,
16
                        Defendants.
17

18
19

20

21

22

        PLAINTIFFS’ STATUS                        1              ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
        REPORT AND REQUEST                                            800 Fifth Avenue, Suite 2000
                                                                          Seattle, WA 98104
        FOR STATUS CONFERENCE                                                (206) 464-7744
        NO. 20-03127-SAB
     Case 1:20-cv-03127-SAB       ECF No. 97     filed 10/29/20   PageID.2849 Page 2 of 6




1               The Plaintiff States respectfully submit this status report and request a

2        telephonic status conference on Friday, October 30, to provide the Court with an

3        update regarding USPS’s consistently poor Election Mail performance data in

4        certain regions and to ensure compliance with the Court’s preliminary injunction,

5        including obtaining any additional relief that may be necessary so that

6        Defendants deliver outstanding ballots to voters and timely deliver completed

7        ballots to elections officials.

8               On October 29, Defendants produced service-performance data reflecting

9        unacceptably low rates of on-time delivery of First Class Mail, and ballots

10       specifically, in multiple parts of the country. See Exhibits A-2, and A-3. Taking

11       the Detroit District as an example, the processing score for inbound ballots1—

12       ballots that are sent by voters to elections offices—has ranged from 57% to 84%

13       in the past week. See Exhibit A-3. By comparison, the national processing score

14       has been 93% or higher. The processing score metric is a measure of timeliness:

15       it reflects the percentage of ballots that met the applicable service performance

16       standard (e.g., 1-3 days for Election Mail in the continental United States), as

17
                1
18                  The Postal Service states that it is unable to calculate the processing score

19       for all ballots it processes, and that it is only capable of providing a performance

20       score for ballots with an Intelligent Mail Barcode or ballots bearing a service type

21       ID code that specifically identifies the ballot as outgoing to voters or incoming

22       from voters. See Exhibit A.

        PLAINTIFFS’ STATUS                              2              ATTORNEY GENERAL OF WASHINGTON
                                                                            Complex Litigation Division
        REPORT AND REQUEST                                                  800 Fifth Avenue, Suite 2000
                                                                                Seattle, WA 98104
        FOR STATUS CONFERENCE                                                      (206) 464-7744
        NO. 20-03127-SAB
     Case 1:20-cv-03127-SAB     ECF No. 97    filed 10/29/20   PageID.2850 Page 3 of 6




1        measured by when a ballot is first scanned at a processing facility to when it is

2        last scanned at a processing facility. The Detroit District’s processing score for

3        outbound ballots—ballots that are sent to voters—has been below 60% this past

4        week, whereas the national score has not dipped below 91%. See Exhibit A-3.

5              The parties conferred regarding the ballot performance data the same day,

6        Thursday, October 29. Defendants’ counsel stated that one reason for the low on-

7        time delivery rates was that the volume of data may be too small to be statistically

8        valid. But Defendants have provided processing score percentages for the Detroit

9        District to the hundredth decimal, indicating that each individual percentage

10       figure represents at least a thousand ballots.2 Defendants also stated that these

11       figures are not representative of all ballots. But the reported data still show that

12       the Postal Service is failing to timely deliver a significant number of trackable

13       ballots, and that such ballots remain undelivered to voters or will not be delivered

14       to elections officials in time to be counted. In short, the data reflect persistently

15       low rates of on-time delivery of a significant number of ballots in certain regions.

16       Meanwhile, service performance as to ballots not reflected in Defendants’

17       produced data is unknown.

18             The Plaintiff States initially raised concerns about ballot delays in

19       Michigan on Monday, October 26, and have provided Defendants with

20
               2
21                 The smallest fraction for 84.24%, the inbound ballot processing score on

22       October 28, is 1053/1250.

        PLAINTIFFS’ STATUS                           3              ATTORNEY GENERAL OF WASHINGTON
                                                                         Complex Litigation Division
        REPORT AND REQUEST                                               800 Fifth Avenue, Suite 2000
                                                                             Seattle, WA 98104
        FOR STATUS CONFERENCE                                                   (206) 464-7744
        NO. 20-03127-SAB
     Case 1:20-cv-03127-SAB       ECF No. 97   filed 10/29/20   PageID.2851 Page 4 of 6




1        information supporting these concerns. The Plaintiff States sought information

2        about the scope of and reasons for such delays throughout the week, but have yet

3        to receive a satisfactory response. Plaintiffs believe that the ballot delays are, at

4        least in part, the result of Defendants’ failure to take “extraordinary measures” to

5        accelerate the delivery of ballots, as required by the injunction. ECF No. 90 at 3.

6        And as shown by the disparity in processing scores between districts such as

7        Detroit and the nation, and the persistence of poor processing scores, Defendants

8        are not generally delivering ballots in line with First-Class Mail delivery

9        standards as required by the Court’s injunction. Id. at 2–3. Plaintiffs therefore

10       request a status conference to present the information above to the Court; to offer

11       Defendants an opportunity to provide additional information or explanation, if

12       any; and to seek further relief as necessary so that Defendants take additional

13       measures to “accelerate the delivery of ballots” to ensure that all duly cast votes

14       are counted. Id. at 3.

15

16

17

18
19

20

21

22

        PLAINTIFFS’ STATUS                            4              ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
        REPORT AND REQUEST                                                800 Fifth Avenue, Suite 2000
                                                                              Seattle, WA 98104
        FOR STATUS CONFERENCE                                                    (206) 464-7744
        NO. 20-03127-SAB
     Case 1:20-cv-03127-SAB   ECF No. 97   filed 10/29/20   PageID.2852 Page 5 of 6




1        DATED this 29th day of October, 2020.

2                                          ROBERT W. FERGUSON
                                           Attorney General
3
                                           /s/ Noah Guzzo Purcell
4                                          NOAH GUZZO PURCELL, WSBA #43492
                                               Solicitor General
5                                          NATHAN K. BAYS, WSBA #43025
                                           KRISTIN BENESKI, WSBA #45478
6                                          ANDREW R.W. HUGHES, WSBA #49515
                                           CRISTINA SEPE, WSBA #53609
7                                              Assistant Attorneys General
                                           EMMA GRUNBERG, WSBA #54659
8                                          TERA M. HEINTZ, WSBA #54921
                                               (application for admission forthcoming)
9                                          KARL D. SMITH, WSBA #41988
                                               Deputy Solicitors General
10                                         800 Fifth Avenue, Suite 2000
                                           Seattle, WA 98104
11                                         (206) 464-7744
                                           noah.purcell@atg.wa.gov
12                                         nathan.bays@atg.wa.gov
                                           kristin.beneski@atg.wa.gov
13                                         andrew.hughes@atg.wa.gov
                                           cristina.sepe@atg.wa.gov
14                                         emma.grunberg@atg.wa.gov
                                           tera.heintz@atg.wa.gov
15                                         karl.smith@atg.wa.gov
                                               Attorneys for Plaintiff State of
16                                             Washington
17

18
19

20

21

22

        PLAINTIFFS’ STATUS                        5              ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
        REPORT AND REQUEST                                            800 Fifth Avenue, Suite 2000
                                                                          Seattle, WA 98104
        FOR STATUS CONFERENCE                                                (206) 464-7744
        NO. 20-03127-SAB
     Case 1:20-cv-03127-SAB   ECF No. 97    filed 10/29/20   PageID.2853 Page 6 of 6




1                              DECLARATION OF SERVICE

2              I hereby declare that on this day I caused the foregoing document to be

3        electronically filed with the Clerk of the Court using the Court’s CM/ECF System

4        which will serve a copy of this document upon all counsel of record.

5              DATED this 29th day of October, 2020, at Tumwater, Washington.

6
                                      /s/ Jennifer D. Williams
7                                     JENNIFER D. WILLIAMS
                                      Paralegal
8

9
10

11

12
13

14

15

16

17

18
19

20

21

22

        PLAINTIFFS’ STATUS                         6              ATTORNEY GENERAL OF WASHINGTON
                                                                       Complex Litigation Division
        REPORT AND REQUEST                                             800 Fifth Avenue, Suite 2000
                                                                           Seattle, WA 98104
        FOR STATUS CONFERENCE                                                 (206) 464-7744
        NO. 20-03127-SAB
